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                              Exhibit 1

               Revised Schedule 2 to Spigel Declaration
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    SCHEDULE OF PARTIES IN INTEREST (OR AFFILIATED ENTITIES) WHO ARE
     CURRENT CLIENTS OR WERE CLIENTS WITHIN THE LAST THREE YEARS

           Party                     Role/Interest in               Relationship
                                     Chapter 11 Case               to Baker Botts

AEP Texas Inc.                Key Vendor/Contract Counter-   Affiliate of Current Client
                              Parties/Top 30 Creditors

Amazon Web Services           Key Vendors                    Current Client

CenterPoint Energy Houston    Contract Counter-Parties       Current Client
Electric, LLC

CenterPoint Energy, Inc       Top 30 Creditors               Current Client

Christian McArthur            Director of Parent             Former Client
                              Company/Officer – Current

                              Indirect Equity Holder

EDF Trading North America     Indirect Equity Holder         Affiliate of Current Client
LLC

The Electric Reliability      Contract Counter-Parties       Former Client
Council of Texas (ERCOT)

Facebook                      Key Vendors                    Current Client

Griddy Holdings LLC           Affiliate                      Current Client

Griddy VI Holdings LLC        Affiliate                      Current Client

Hartford Casualty Insurance   Contract Counter-Parties       Affiliate of Current Client
Company

Hartford Fire Insurance       Insurance Providers and        Affiliate of Current Client
Company                       Related Parties

JPMorgan Chase Bank, N.A.     Banks/Lenders/LOCs/Adminis     Current Client
                              trative Agents
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            Party                      Role/Interest in                   Relationship
                                       Chapter 11 Case                   to Baker Botts

Luminant Energy Company         Parties that have filed a notice   Current Client and
LLC                             of appearance in the case and      Affiliate of Current Client
                                are not listed in another
                                category

Macquarie Bank Limited          Contract Counter-Parties           Current Client

Macquarie Energy LLC            Banks/Lenders/LOCs/Adminis         Current Client
                                trative Agents

Michael Fallquist               Director of Parent                 Former Client
                                Company/Officer – Current

                                Indirect Equity Holder

Office of the Attorney          Parties Relating to Known          Agencies of the State of
General of the State of Texas   Litigation Matters Involving       Texas are Current Clients
                                the Debtor-Litigation

Oncor Electric Delivery         Top 20 Creditors                   Current Client
Company LLC

Public Utility Commission of    Top 20 Creditors                   Agencies of the State of
Texas                           Governmental/Regulatory            Texas are Current Clients
                                Agencies

Roop Bhullar                    Director of Parent                 Former Client
                                Company/Officer – Current

                                Indirect Equity Holder

Southwest Partners LP           Contract Counter-Parties           Current Client

Texas Comptroller of Public     Top 20 Creditors                   Agencies of the State of
Accounts                                                           Texas are Current Clients

TriNet HR III, Inc.             Key Vendors                        Affiliate of Current Client

The State of Texas              Parties Relating to Known          Agencies of the State of
                                Litigation Matters Involving       Texas are Current Clients
                                the Debtor-Litigation
